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PAUL TOWNSEND

                                                      November 13, 2017

       BYECF
       Hon. Edgardo Ramos
       United States District Judge
       Southern District of New York
       500 Pearl Street
       New York, New York 10007

                  Re:     United States v. Beckish, et at, 17 CR 569 (ER)

       Dear Judge Ramos:

               I am writing on behalf of defendant Joseph Anthony Demaria to respectfully request a
       modification of the defendant's bail conditions which would permit him to travel to Orlando,
       Florida from December 14, 2017 through December 18, 20 17 in order to take his twin daughters
       to Disney World for their birthdays. Mr. Demaria's probation officer, Marisa Barwig, has no
       objection to this request, and the government, by AUSA Danielle Sassoon, defers to Probation's
       position on this application. Mr. Demaria's sureties have consented to this request.

               By way of background, on July 20, 2017, Mr. Demaria was released by Judge Sarah
       Netburn on a $500,000 personal recognizance bond secured by property and signed by two
       financially responsible persons, with travel limited to the Southern and Eastern Districts of New
       York, the Southern District of Florida, and the District of New Jersey. In the time since his
       release, Mr. Demaria has remained compliant with his bail conditions.
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 Hon. Edgardo Ramos
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        Thank you for your consideration on this application. I remain available for a conference
 should Your Honor deem it necessary.


                                             Respectfully submitted,




                                             Je~~
 cc:    Danielle Sassoon, Esq. (by email & ECF)
        Assistant United States Attorney

        So Ordered:


        Hon. Edgardo Ramos, U.S.D.J.
